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uNiTEo sTATEs oF AMEchA, 9 i"viil MEM?JHJS'

P|aintiff,

VS.
CFl. NO. 04-20472-B

JOH|\| WAYNE GLENN,

Detendant.

 

OFlDEFl ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |V|ay 31, 2005. At that time, counsel for
the defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

re ort date of Monda Ju| 25 2005 at 9:30 a.m., in Courtroom 1. ttth F|oor of the

 

Federa| Building, Memphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need a speedy trial.

|T IS SO ORDEFlED this da Of une, 2005.

 

UN|EL BREEN
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This notice confirms a copy of the document docketed as number 38 in
case 2:04-CR-20472 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

